          Case
AO 106 (Rev. 04/10) 2:19-mj-05299-DUTY
                    Application for a Search Warrant        Document 1 Filed 12/13/19 Page 1 of 19 Page ID #:1

                                         UNITED STATES DISTRICT COURT
                                                                        for the
                                                            Central District
                                                         __________  Districtofof
                                                                                California
                                                                                  __________

                   In the Matter of the Search of                          )
           (Briefly describe the property to be searched or identify the   )
                           person by name and address)                     )      Case No. 2:19-MJ-5299
    (1) a Microsoft Xbox Console with serial number                        )
    106520753548; (2) an Apple iPhone described as                         )
    having a white border with a blue case; and (3) a HP                   )
    laptop computer with serial number CND5226212,                         )
    as further described in Attachment A                                   )

                                                APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
      See Attachment A
located in the Central District of California, there is now concealed (identify the person or describe the property to be seized):
      See Attachment B
          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                     evidence of a crime;
                     contraband, fruits of crime, or other items illegally possessed;
                     property designed for use, intended for use, or used in committing a crime;
                     a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
            Code Section                                                             Offense Description
        18 U.S.C. § 2261A                                                  Stalking
        18 U.S.C. §§ 875(c), (d)                                           Transmitting Threat Through Interstate
                                                                           Communications
          The application is based on these facts:
                 See attached Affidavit
                   Continued on the attached sheet.
        Delayed notice of            days (give exact ending date if more than 30 days:                                   ) is requested
      under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                 Applicant’s signature

                                                                                      Clint Wilmsen, FBI, Special Agent
Sworn to before me and signed in my presence.                                                    Printed name and title


Date:
                                                                                                   Judge’s signature

City and state: Los Angeles, CA                                                        Michael Wilner, U.S. Magistrate Judge
Printed name and title
AUSA: Aron Ketchel x1019
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                              ATTACHMENT A
ITEMS TO BE SEARCHED

     The three items to be searched include: (1) a Microsoft

Xbox Console with serial number 106520753548; (2) an Apple

iPhone described has having a white border with a blue case; and

(3) a HP laptop computer with serial number CND5226212

(collectively the “SUBJECT DEVICES”).        The SUBJECT DEVICES are

currently in the custody of Pomona Police Department in Pomona,

California, within the Central District of California.




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                              ATTACHMENT B

I. ITEMS TO BE SEIZED
     1.   The items to be seized are evidence, contraband,

fruits, or instrumentalities of violations of 18 U.S.C. § 2261A

(Stalking); 18 U.S.C. §§ 875(c), (d) (transmitting a threat

through interstate communications), (collectively, the “Subject

Offenses”), namely:

          a.    Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

that refer to activities or materials related to the Subject

Offenses, including documents that refer to the possession,

receipt, distribution, transmission, reproduction, viewing,

sharing, purchase, downloading, production, shipment, order,

requesting, trade, or transaction of any nude images or videos.

          b.    Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

tending to identify persons involved in the possession, receipt,

distribution, transmission, reproduction, viewing, sharing,

purchase, downloading, production, shipment, order, requesting,

trade, or transaction of any nude images or videos.

          c.    Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

which refer to or may identity victims of the Subject Offenses.

          d.    Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

which may be used to threaten, extort, or otherwise influence

victims of the Subject Offenses including, but not limited to,



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images, videos, personal information, and other information

regarding victims’ families and/or friends.

          e.    Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

that pertain to accounts with any Internet Service Provider.

          f.    Any SUBJECT DEVICE which is itself or which

contains evidence, contraband, fruits, or instrumentalities of

the Subject Offenses, and forensic copies thereof.

          g.    With respect to any SUBJECT DEVICE containing

evidence falling within the scope of the foregoing categories of

items to be seized:

                i.    evidence of who used, owned, or controlled

the device at the time the things described in this warrant were

created, edited, or deleted, such as logs, registry entries,

configuration files, saved usernames and passwords, documents,

browsing history, user profiles, e-mail, e-mail contacts, chat

and instant messaging logs, photographs, and correspondence;

                ii.   evidence of the presence or absence of

software that would allow others to control the device, such as

viruses, Trojan horses, and other forms of malicious software,

as well as evidence of the presence or absence of security

software designed to detect malicious software;

                iii. evidence of the attachment of other devices;




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                iv.     evidence of counter-forensic programs (and

associated data) that are designed to eliminate data from the

device;

                v.      evidence of the times the device was used;

                vi.     passwords, encryption keys, biometric keys,

and other access devices that may be necessary to access the

device;

                vii. applications, utility programs, compilers,

interpreters, or other software, as well as documentation and

manuals, that may be necessary to access the device or to

conduct a forensic examination of it;

                viii.        records of or information about

Internet Protocol addresses used by the device;

                ix.     records of or information about the device’s

Internet activity, including firewall logs, caches, browser

history and cookies, “bookmarked” or “favorite” web pages,

search terms that the user entered into any Internet search

engine, and records of user-typed web addresses.

     2.   As used herein, the terms “records,” “documents,”

“programs,” “applications,” and “materials” include records,

documents, programs, applications, and materials created,

modified, or stored in any form, including in digital form on

any digital device and any forensic copies thereof.




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II. SEARCH PROCEDURE FOR DIGITAL DEVICES

     3.   In searching digital devices or forensic copies

thereof, law enforcement personnel executing this search warrant

will employ the following procedure:

          a.    Law enforcement personnel or other individuals

assisting law enforcement personnel (the “search team”) may

search any SUBJECT DEVICE capable of being used to facilitate

the above-listed violations or containing data falling within

the scope of the items to be seized.

          b.    The search team will, in its discretion, either

search each SUBJECT DEVICE where it is currently located or

transport it to an appropriate law enforcement laboratory or

similar facility to be searched at that location.

          c.    The search team shall complete the search of the

SUBJECT DEVICE(S) as soon as is practicable but not to exceed

120 days from the date of issuance of the warrant.         The

government will not search the digital device(s) beyond this

120-day period without obtaining an extension of time order from

the Court.

          d.    The search team will conduct the search only by

using search protocols specifically chosen to identify only the

specific items to be seized under this warrant.

                i.    The search team may subject all of the data

contained in each SUBJECT DEVICE capable of containing any of

the items to be seized to the search protocols to determine

whether the SUBJECT DEVICE and any data thereon falls within the


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scope of the items to be seized.      The search team may also

search for and attempt to recover deleted, “hidden,” or

encrypted data to determine, pursuant to the search protocols,

whether the data falls within the scope of the items to be

seized.

                ii.   The search team may use tools to exclude

normal operating system files and standard third-party software

that do not need to be searched.

                iii. The search team may use forensic examination

and searching tools, such as “EnCase” and “FTK” (Forensic Tool

Kit), which tools may use hashing and other sophisticated

techniques [, including to search for known images of child

pornography.]

           e.   If the search team, while searching a SUBJECT

DEVICE, encounters immediately apparent contraband or other

evidence of a crime outside the scope of the items to be seized,

the team shall immediately discontinue its search of that

SUBJECT DEVICE pending further order of the Court and shall make

and retain notes detailing how the contraband or other evidence

of a crime was encountered, including how it was immediately

apparent contraband or evidence of a crime.

           f.   If the search determines that a SUBJECT DEVICE

does not contain any data falling within the list of items to be

seized, the government will, as soon as is practicable, return

the SUBJECT DEVICE and delete or destroy all forensic copies

thereof.




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          g.    If the search determines that a SUBJECT DEVICE

does contain data falling within the list of items to be seized,

the government may make and retain copies of such data, and may

access such data at any time.

          h.    If the search determines that the SUBJECT DEVICE

is (1) itself an item to be seized and/or (2) contains data

falling within the list of other items to be seized, the

government may retain the digital device and any forensic copies

of the digital device, but may not access data falling outside

the scope of the other items to be seized (after the time for

searching the device has expired) absent further court order.

          i.    The government may also retain a SUBJECT DEVICE

if the government, prior to the end of the search period,

obtains an order from the Court authorizing retention of the

device (or while an application for such an order is pending),

including in circumstances where the government has not been

able to fully search a device because the device or files

contained therein is/are encrypted.

          j.    After the completion of the search of the SUBJECT

DEVICE(S), the government shall not access digital data falling

outside the scope of the items to be seized absent further order

of the Court.

     4.   The review of the electronic data obtained pursuant to

this warrant may be conducted by any government personnel

assisting in the investigation, who may include, in addition to

law enforcement officers and agents, attorneys for the

government, attorney support staff, and technical experts.



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Pursuant to this warrant, the investigating agency may deliver a

complete copy of the seized or copied electronic data to the

custody and control of attorneys for the government and their

support staff for their independent review.

     5.   The special procedures relating to digital devices

found in this warrant govern only the search of digital devices

pursuant to the authority conferred by this warrant and do not

apply to any search of digital devices pursuant to any other

court order.




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                                AFFIDAVIT
      I, Clint Wilmsen, being duly sworn, declare and state as

follows:

                            I. INTRODUCTION
      1.      I am a Special Agent (“SA”) with the Federal Bureau of

Investigation (“FBI”) and have been so employed since December

2002.      As an FBI SA, I received training at the FBI Academy and

other law enforcement training venues.        I was trained to manage

and run criminal investigations, including online investigations

utilizing the identification and research of social media, along

with email and IP address tracking and analysis.          I received a

Bachelor of Arts degree in English from California State

Polytechnic University, Pomona, and a Juris Doctorate degree

from the University of California, Los Angeles.          I am currently

assigned to the FBI’s Los Angeles Field Office, West Covina

Resident Agency, where my duties include the investigation of

federal crimes.      During my employment with the FBI, I have

participated in numerous investigations involving complex

federal crimes, including international investment schemes,

government program fraud, public corruption, national security,

online extortion, and child pornography.         I have conducted

interviews, IP address research and analysis, search warrant

executions, evidence collection, interviews, and evidence review

in support of child pornography investigations.

                        II. PURPOSE OF AFFIDAVIT
      2.      This affidavit is made in support of an application

for a warrant to search three digital devices: (1) a Microsoft
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Xbox Console with serial number 106520753548 (“Microsoft Xbox”);

(2) an Apple iPhone described as having a white border with a

blue case (“Apple iPhone”); and (3) a HP laptop computer with

serial number CND5226212 (“HP Laptop”) (collectively the

“SUBJECT DEVICES”), as further described in Attachment A.           The

SUBJECT DEVICES are all currently in custody of the Pomona

Police Department (“PPD”) in Pomona, California, within the

Central District of California.

      3.   The requested warrant seeks authorization to seize

evidence, fruits, and instrumentalities of violations of 18

U.S.C. § 2261A (Stalking); 18 U.S.C. §§ 875(c), (d)

(transmitting a threat through interstate communications)

(collectively, the “Subject Offenses”), as described further in

Attachment B, which are also incorporated herein by reference.

      4.   The statements contained in this affidavit are based

on the following, among other things: (a) information provided

by FBI SAs; (b) written reports about this and other

investigations received, directly or indirectly, from other law

enforcement agents; (c) information gathered from the service of

administrative subpoenas; (d) the results of physical and

electronic surveillance conducted by law enforcement agents;

(e) independent investigation and analysis by FBI SAs/analysts,

and computer forensic professionals; and (f) my own experience,

training and background as an FBI SA.

      5.   The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and



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witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested warrant and does

not purport to set forth all of my knowledge of or investigation

into this matter.     Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only.

                    III. SUMMARY OF PROBABLE CAUSE
      6.    As set forth below, beginning on or about April 13,

2016, and continuing to on or about April 27, 2019, JORGE

ESTEBAN SANCHEZ RAMOS (“SANCHEZ”) engaged in a course of conduct

in violation of the Subject Offenses.        On May 24, 2019, a

federal grand jury in the Central District of California

returned an indictment charging SANCHEZ with four counts of

violating 18 U.S.C. §§ 2261A(2)(B) (Stalking), and an arrest

warrant for SANCHEZ was issued.       On August 15, 2019, SANCHEZ was

arrested by the FBI with the assistance of PPD Detectives.

Based on SANCHEZ’s consent, PPD seized items SANCHEZ used to

access the Internet, specifically the SUBJECT DEVICES.           During

an interview, SANCHEZ discussed threatening approximately

fifteen women online via Facebook in order to obtain nude

images.    SANCHEZ stated that he used the Apple iPhone seized by

PPD Detectives to threaten women for approximately the previous

two years.    The SUBJECT DEVICES are located at the PPD

evidence facility and have not been searched.         Although SANCHEZ

initially signed a form consenting to the search of the SUBJECT

DEVICES, SANCHEZ’s counsel informed the government that he has




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withdrawn his consent, which is why I now seek a warrant to

search the SUBJECT DEVICES.

                    IV. STATEMENT OF PROBABLE CAUSE
      7.   I know the following information through my review of

records, my investigation, my conversations, and my

conversations with other investigators on this case:

      A.   SANCHEZ Investigation and Criminal Charges
      8.   Beginning on or about April 13, 2016, and continuing

to on or about April 27, 2019, SANCHEZ engaged in a course of

conduct in violation of the Subject Offenses.         While specific

acts varied with separate victims, generally, SANCHEZ obtained

nude images of victims, then threatened to share those nude

images with the victim’s family, friends and/or the public

unless the victims provided additional nude content.           SANCHEZ

utilized multiple Facebook accounts and various names in a

manner designed to hide his true identity and defeat victim

efforts to avoid and escape his conduct.

      9.   On May 24, 2019, a federal grand jury in the Central

District of California returned an indictment charging SANCHEZ

with four counts of 18 U.S.C. §§ 2261A(2)(B), 2261(b)(5):

Stalking (CR 19-319-DMG) (the “Indictment”).         Also, on May 24,

2019, the Honorable Alexander F. MacKinnon, United States

Magistrate Judge issued an arrest warrant for SANCHEZ pursuant

to the Indictment.     A copy of the Indictment is attached as an

exhibit to my affidavit for the Court’s convenience.




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      B.    SANCHEZ Arrest, Evidence Collection, and Interview
      10.   On August 15, 2019, SANCHEZ was arrested by the FBI

pursuant to the federal arrest warrant at 10838 Vernon Avenue,

Trailer 2, Ontario, California (the “Residence”).

      11.   Also present at the arrest was PPD Detectives Childers

and Lee (the “PPD Detectives”).       SANCHEZ provided the PPD

Detectives with consent to enter the Residence in order to

retrieve items SANCHEZ utilized to access the internet,

specifically the SUBJECT DEVICES.       SANCHEZ signed a PPD Entry

and Search Waiver, which granted full and unconditional

authority to PPD to enter the Residence and conduct a search for

any electronic devices and conduct any related investigation.

While still at the Residence, prior to being Mirandized, SANCHEZ

provided PPD Detectives with the passwords for the Apple iPhone

and HP Laptop.    PPD Detectives unlocked the Apple iPhone with

the password provided by SANCHEZ and turned off the device.

SANCHEZ stated that the Xbox Console did not have a password.            A

PPD Field Property Receipt for the SUBJECT DEVICES was left at

the Residence.    PPD Detectives transported the SUBJECT DEVICES

to the PPD evidence facility where they were appropriately

secured.    The SUBJECT DEVICES have not been searched to date.

      12.   On August 15, 2019, and subsequent to his arrest, I

transported SANCHEZ to the FBI West Covina, California office

and interviewed SANCHEZ.      I advised SANCHEZ of his Miranda

Rights, SANCHEZ stated that he understood those rights, and

SANCHEZ signed an FBI Advice of Rights form indicating he was

willing to answer questions.       During the interview, SANCHEZ



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discussed threatening women online via Facebook in order to

obtain nude images.     SANCHEZ stated he engaged in this activity

from approximately one year after he graduated high school (in

approximately 2014) until approximately one month before his

arrest.     SANCHEZ estimated he threatened about 15 women online

ranging in age from 18 to 30 years old using multiple Facebook

profiles.     SANCHEZ stated that he used the Apple iPhone seized

by PPD Detectives to threaten women for approximately the

previous two years.     SANCHEZ provided the password to the Apple

iPhone.     SANCHEZ described a hidden album on his Apple iPhone

where he stored nude images he obtained from women online.

      13.    On August 15, 2019, SANCHEZ made his initial

appearance before the Honorable John E. McDermott, United States

Magistrate Judge.     SANCHEZ was remanded into United States

Marshall’s custody pending trial, which is currently set to

begin January 21, 2020.

      14.    I understand that, following SANCHEZ’s arrest,

Assistant United States Attorney Aron Ketchel sought to confirm

with SANCHEZ’s counsel that SANCHEZ consented to the SUBJECT

DEVICES.     On or around November 7, 2019, I learned from AUSA

Ketchel that SANCHEZ was withdrawing his consent to search the

SUBJECT DEVICES.     I am therefore seeking this warrant to search

the SUBJECT DEVICES.


            V. TRAINING AND EXPERIENCE ON DIGITAL DEVICES
      1.     As used herein, the term “digital device” includes the

SUBJECT DEVICES.



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      2.   Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

           a.    Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.           Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.       Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

           b.    Based on my training and experience, I am aware

that Windows XBox Consoles contain hardware such as a hard drive

capable of storing electronic evidence in a similar manner as

other digital devices.

           c.    Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device.           That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places



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where the user may be unaware of them.        For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

           d.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.    For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

           e.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.       Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.

      3.   Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data

during a search of the premises for a number of reasons,

including the following:

           a.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a



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complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.

            b.   Digital devices capable of storing multiple

gigabytes are now commonplace.       As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.

      15.    Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.

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                              VI. CONCLUSION
      16.   For all the reasons described above, there is probable

cause to believe that evidence of violations of the Subject

Offenses, as described above and in Attachment B of this

affidavit, will be found in a search of the SUBJECT DEVICES, as

described in Attachment A of this affidavit.




                                         Clint Wilmsen, Special Agent
                                         FEDERAL BUREAU OF
                                         INVESTIGATION

Subscribed to and sworn before me
this ______ day of December, 2019



UNITED STATES MAGISTRATE JUDGE




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